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                       EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

  AZURITY PHARMACEUTICALS, INC.,
                                                                  C.A. No. 21-1286-MSG
                                                                      (consolidated)
                         Plaintiff,
                                                       FILED UNDER SEAL—MAY CONTAIN
            v.
                                                         INFORMATION DESIGNATED BY
                                                             PLAINTIFF AS HIGHLY
  BIONPHARMA INC., et al.,
                                                                CONFIDENTIAL
                         Defendants.

                     DECLARATION OF ROSHAN P. SHRESTHA, PH.D.

 I, Roshan P. Shrestha, Ph.D., of full age, hereby declares as follows:

        1.       I am an attorney licensed to practice in Illinois and am a member of the firm, Taft

 Stettinius & Hollister LLP, counsel to Defendant Bionpharma Inc. (“Bionpharma”). In such

 capacity, I am fully familiar with the facts contained herein.

        2.       I submit this Declaration in support of Bionpharma’s Letter Requesting an Order

 Compelling Plaintiff Azurity to Provide Discovery Concerning Its Antitrust Document Collection

 Efforts.

        3.       Based on a review of Azurity production in these cases I have carried out, Azurity

 has produced approximately 922 documents—totaling approximately 17,936 pages—since June

 22, 2021, the filing date of the 21-1286 action (originally filed as Azurity Pharmaceuticals, Inc. v.

 Bionpharma Inc., No. 3:21-cv-12870 (D.N.J.)).

        4.       Of the approximately 922 documents Azurity has produced, approximately 440 of

 those documents are related to the patent claims and defenses in these cases (“patent production”),

 mostly consisting of patents, prosecution histories, inventor lab notebooks, and invalidity or

 infringement documents produced from related actions, including Azurity Pharm., Inc. v. Alkem
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 Labs. Ltd., C.A. No. 19-2100-MSG (D. Del.) and Azurity Pharm., Inc. v. Annora Pharma Pvt. Ltd.,

 C.A. No. 21-196-MSG (D. Del.). The remaining approximately 482 documents that Azurity has

 produced relate primarily to the antitrust claims and defenses in these cases (“antitrust-specific

 production”).

        5.       Broken down by pages, Azurity’s patent production totals to approximately 15,416

 pages, while Azurity’s antitrust-specific production totals to approximately 2,520 pages.

        6.       Based on my review, I have created the following table summarizing Azurity’s

 production in the instant suits thus far:

  Production Bates Range                     Number of Description
  Date                                       Documents
  02/10/2022 SLVGT-EPA_0107344 –                  4      U.S. Patent Nos. 11, 040,023 (the “’023
             SLVGT-EPA_0108290                           patent”) and 11,141,405 (the “’405 patent”)
                                                         and file histories thereof.
  09/12/2022     SLVGT-EPA_0108291 –              9      Financial statements from 2019-2020;
                 SLVGT-EPA_0108360                       Epaned sales, Epaned Market, IQVIA, and
                                                         pharmacies data.
  09/23/2022     SLVGT-EPA_0108361 –              8      U.S. Patent Nos. 10,772,868; 10,786,482;
                 SLVGT-EPA_0111666                       10,799,476; 10,918,621, and file histories
                                                         thereof.
  10/18/2022     SLVGT-EPA_0111667 –              6      The ’023 and ’405 patent file histories;
                 SLVGT-EPA_0112291                       Azurity Performance Summary 2022
                                                         presentation; Product Performance
                                                         presentation.
  11/01/2022     SLVGT-EPA_0112292 –              26     Materials from Azurity v. Amneal (19-cv-678
                 SLVGT-EPA_0113213                       (D. Del.) (consolidated)) litigation (expert
                                                         reports, exhibits, and written discovery).
  11/07/2022     SLVGT-EPA_0113214 –             238     Materials from Azurity v. Alkem (19-cv-2100
                 SLVGT-EPA_0121807                       (D. Del.) (consolidated)) litigation (expert
                                                         reports and transcripts; Alkem Rule 30(b)(6)
                                                         deposition notice; Little, Mahan, Miles,
                                                         Beckloff, and Mosher deposition transcripts
                                                         and exhibits thereto; written discovery).
  11/29/2022     SLVGT-EPA_0121808 –             116     Excel spreadsheets with prescription data;
                 SLVGT-EPA_0122017                       Amneal royalty calculations; Amneal
                                                         manufacturing agreement; Amneal invoices;
                                                         2022Q3 Performance Summary Update
                                                         presentation.
  02/21/2023     SLVGT-EPA_0122018 –          327 (166   Azurity-CoreRx email correspondence
                 SLVGT-EPA_0122749           slip-sheets regarding settlement of Azurity v. CoreRx
                                                 for     litigations; email correspondence regarding
                                             documents early filings and summons from Bionpharma

                                                    2
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  Production Bates Range                   Number of     Description
  Date                                     Documents
                                           withheld on   v. CoreRx (1:21-cv-10656 (SDNY)) case and
                                            privilege    decision from Second Circuit denying
                                            grounds)     Azurity/CoreRx’s motion to stay.
  03/09/2023   SLVGT-EPA_0122750 –             21        Enalapril monthly prescription data; IQVIA
               SLVGT-EPA_0122933                         update; Amneal litigation settlement
                                                         materials; Amneal royalty and purchase order
                                                         materials; Azurity budget presentation from
                                                         2022; Azurity forecast presentation from
                                                         2022; laboratory notebook pages.
  03/10/2023   AZU_NOV_0000001 –                4        ’023 patent and ’405 patent and prosecution
               AZU_NOV_0000557                           histories thereof.
  04/25/2023   SLVGT-EPA_0122934 –              7        Azurity (CutisPharma) board of directors
               SLVGT-EPA_0122947                         meeting minutes from 2021-2022; Patel
                                                         declaration submitted in Bionpharma v.
                                                         CoreRx (SDNY) case.
  5/19/2023    SLVGT-EPA_0122948 –              3        Azurity organizational charts.
               SLVGT-EPA_0122986
  5/26/2023    SLVGT-EPA_0122987 –             143       Azurity board meeting presentations;
               SLVGT-EPA_0124648                         NovaQuest-Azurity monthly call agendas
                                                         from 2020-2021; materials from Azurity v.
                                                         Annora (21-cv-196 (D. Del.) (Consolidated))
                                                         litigation (written discovery, expert reports,
                                                         infringement contentions, though production
                                                         omits deposition transcripts); product
                                                         complaint materials for Epaned powder
                                                         products from 2014-2015.
  6/2/2023     SLVGT-EPA_0124649 –             10        Laboratory notebooks (e.g., from Mosher,
               SLVGT-EPA_0124722                         Miles) dated 2020 and 2022; data from
                                                         experiments presented in excel spreadsheets.


          7.    While Azurity’s March 9, 2023 production of documents that it had produced in

 response to a subpoena served in connection with Bionpharma Inc. v. CoreRx, Inc., No. 1:21-cv-

 10656-JGK-VF (S.D.N.Y.) includes email correspondence between Azurity’s and CoreRx’s

 representatives, I have been unable to locate any other emails in Azurity’s production in the instant

 suits.




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       I hereby declare under penalty of perjury that the foregoing is true and correct.



 Dated: June 9, 2023
                                                             Roshan P. Shrestha, Ph.D.




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